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                                 IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA


Kyko Global, Inc., Kyko Global GmbH,                  )
Prithvi Solutions, Inc.,                              )
                                                      )
                                                      )
                    Plaintiff(s)                      )
          v.                                          )      Civil Action No. 2:18-cv-1290
SSG Capital Partners I, LP; SSG Capital               )
Management (Hong Kong) Limited; et al..               )
                                                      )
                                                      )
                    Defendant(s)                      )


                                           REPORT OF NEUTRAL


A   mediation              session was held in the above captioned matter on October 7, 2020 .

The case (please check one):
             has resolved
             has resolved in part (see below)
          X has not resolved.


The parties request that a follow up conference with the Court should be scheduled within
_____ days.


If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.

Mediation efforts will continue with the undersigned during the next two weeks as per the terms outlined by the
Mediator in an October 7, 2020 e-mail communication to both parties.




Dated:    October 8, 2020                             /s/ Mark D. Shepard
                                                      _____________________________________
                                                      Signature of Neutral

                                                                                                    Rev. 09/11
